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            EXHIBIT A-30
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             DISTRICT OF COLUMBIA COURT OF APPEALS                           Sep 6 2022 2:42pm
             BOARD ON PROFESSIONAL RESPONSIBILITY
              HEARING COMMITTEE NUMBER TWELVE

_______________________________
In the Matter of                    :        Board No. 22-BD-039
                                    :
JEFFREY B. CLARK, ESQUIRE :                  Disciplinary Docket No. 2021-D193
                                    :
      Respondent,                   :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:


           DISCIPLINARY COUNSEL’S OMNIBUS RESPONSE
          TO RESPONDENT’S SEPTEMBER 1, 2022 PLEADINGS

      Disciplinary Counsel submits this Omnibus Response to the pleadings filed

by Respondent on September 1, 2022.

      On September 1, 2022, Respondent filed an Answer, a Motion to Dismiss, and

three motions to file various pleadings under seal. The next day, September 2, 2022,

the Board resolved the motions to file under seal: only the portions of the pleadings

that refer to a confidential matter are to be place under seal; redacted versions of

pleadings are to be filed in the public record. The Answer requires no response.

Only the Motion to Dismiss now requires a response. Under the Board Rules, rather

than engage in extensive pre-hearing rulings on motions, the Hearing Committee is

required to conduct the evidentiary hearing on the merits of the Specification of
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Charges and in its report and recommendation, make recommendations to the Board

as to the disposition of the motion to dismiss. Board Rule 7.16(a). Even if the Rules

did not require this procedure, it would nonetheless be the only reasonable procedure

to follow given the nature of the allegations made in the Motion to Dismiss.

      Many of Respondent’s arguments are dependent upon factual issues that have

not yet been litigated. For example, all his arguments relating to his claim that the

charges fail to state a violation of the Rules are heavily fact-dependent. They assume

that the conduct at issue was a pre-decisional recommendation, part of providing

advice to the President, or an honest expression of opinion on a legal issue, and

therefore does not implicate Rule 8.4. The evidence will show that this is not so.

Had Respondent merely suggested sending the so-called “Proof of Concept” letter

to various Georgia officials, this case would not have been brought. It is generally

not a disciplinary violation to make a stupid suggestion. Rather, these charges arise

from Respondent’s conduct after he proposed sending the letter and was informed

by his superiors that there was no factual basis for the claims made in it—most

significantly that there was no evidence of fraud in the 2020 presidential election

that might have affected to results in Georgia. The Department lawyers who were

familiar with the investigations into election fraud told Respondent that there was

no such evidence and attempted to put him in touch with the United States Attorney

who had conducted the Georgia investigation. Respondent did not follow up with



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the U. S. Attorney. Nevertheless, he persisted in attempting to persuade and then

coerce his superiors to send the letter asserting the false information, and when they

still refused to do so, attempted to have himself appointed Acting Attorney General

based upon his assurances to the President that if he were so appointed, he would

send the letter.

       Perhaps Respondent contests these facts. It is impossible to say since his

Answer provides only a general denial. Therefore, the facts need to be determined

at an evidentiary hearing before Respondent’s Motion to Dismiss can be resolved.

Even his jurisdictional arguments are at least partially dependent upon unresolved

facts. For example, part of his separation of powers argument and his official

immunity argument turned on his claim that he was giving legal advice to the

President. Those arguments have no merit, and Disciplinary Counsel believes the

evidence will show that rather than advise the President, Respondent was engaged

in an attempt to interfere improperly in state election proceedings. This case does

not attempt to intrude upon internal Department deliberations or regulate president

authority, but rather regulate the conduct of an individual attorney subject to the

Court’s disciplinary authority who attempted to engage in dishonest conduct. But

those issues can only be resolved by airing the facts.

       Moreover, Disciplinary Counsel believes that once the facts are developed at

an evidentiary hearing, many of the convoluted legal arguments Respondent has put



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forth will disappear, and that the logical time to address those arguments is after the

facts have been established. Accordingly, except to touch lightly on three points,

Disciplinary Counsel does not intend to address them in this pleading, but rather to

defer to the post-hearing briefing, as is the standard procedure.

   1. The D.C. Court of Appeals is an Article I Court Established by Federal
      Law and is Empowered to Regulate the Conduct of Members of Its Bar.

      While at times recognizing the unique status of the District of Columbia—

“All law in the District is federal law . . .” (Motion to Dismiss at 18)—Respondent

continually treats these proceedings as though they are an effort by a “mere” organ

of a city government or a local bar association to regulate the operation of the federal

government. In fact, the Court of Appeals was created by a 1970 act of Congress.

District of Columbia Court Reorganization Act of 1970, Pub. L. No. 91-358, 84 Stat.

473 (1970). Its judges are appointed by the President and confirmed by the Senate.

It is not an organ of the D.C. Government; the mayor and city council are not

involved in the appointment process, for example.

      As authorized by Congress, the Court sets its own rules for admission to its

Bar and for the conduct of its members. Id. at 521. See also D.C. App. R. 46; D.C.

Bar Rule XI. The Board on Professional Responsibility, including the hearing

committees appointed by the Board, are agents of the Court. See Rule XI, § 4. They

are not agents of the D.C. Bar. The Board also appoints Disciplinary Counsel, who

is also not an agent of the D.C. Bar. See Rule XI, § 4(e)(2). Thus, disciplinary

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proceedings are not bar proceedings, but court proceedings. Lawyers who are

members of the D.C. Bar, but who are employed by the federal government, must

still adhere to the standards of conduct to which all D.C. Bar members are held.

      In a recent disciplinary matter, the Court reminded lawyers of its authority to

regulate the conduct of members of its bar. Bar membership “arises from consensual

covenant” between the Court and the attorney admitted to practice before it, and

“[i]n return for the benefits of bar membership, members agree to be bound by Bar

Rules and Rules of Professional Conduct … and to be subject to the disciplinary

authority of this court and the Board ….” In re O’Neill, 276 A.3d 492, 500 (D.C.

2022). The Court went on to remind attorneys that bar membership is a privilege,

the receipt of which carries a duty “at all times and in all conduct, both professional

and personal, to conform to the standards imposed upon members of the Bar,” and

that a violation of that duty “shall be grounds for discipline ….” Id.

      2. The Department of Justice has Authority to Require its Lawyers to
         Comply with the Standards of Conduct of the Bars to Which They Are
         Admitted.

      Although the Court is empowered to discipline members of its bar, if

necessary, Disciplinary Counsel can address in post-hearing briefing Respondent’s

contrived argument as to why he is not subject to the Rules of Professional Conduct,

issued by the Court to which he is admitted to practice, by virtue of his status as an

officer or employee of the Justice Department. Department lawyers and other high



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federal officials who have been disciplined by the Court of Appeals would be

surprised to learn of this immunity. See In re Howes, 52 A.3d 1 (D.C. 2012); In re

Kline, 113 A.3d 202 (D.C. 2015); In re Dobbie & Taylor (BPR Jan. 13, 2021)

(pending before DCCA); see also In re Abrams, 689 A.2d 6 (D.C. 1997) (Assistant

Secretary of State for Inter–American Affairs); In re Berger, 927 A.2d 1032 (D.C.

2007) (National Security Advisor); In re Sofaer, 728 A.2d 625 (D.C. 1999) (Legal

Advisor to U.S. State Department). In fact, although not members of the D.C. Bar,

two presidents of the United States have been disbarred or suspended by state bars

for their conduct while in office. See Matter of Nixon, 53 A.D.2d 178, 385 N.Y.S.2d

305 (1976) (disbarred); Neal v. Clinton, No. CIV 2000-5677, 2001 WL 34355768

(Ark. Cir. Ct. Jan 19, 2001) (five-year suspension).

      But the Department of Justice has adopted a regulation that subjects its

lawyers to compliance with the rules of the bars of the courts to which they are

admitted “to the same extent and in the same manner” as other attorneys admitted to

those bars. 28 C.F.R. § 77.3. While Respondent puts forth a complex argument as

to why D.C. is not a “state” for purposes of 28 U.S.C. § 530B(a), if true, this would

only mean that the Department was not required by the statute to make its D.C. Bar

members—in contrast to all other lawyers employed by the Department—adhere to

the rules of the jurisdiction to which they were admitted. Respondent does not say

why this result would make any policy sense. Surely, in setting the employment



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rules for its employees, the Department has independent authority, regardless of

whether there is a federal statute that so requires, to mandate its D.C. Bar members

to adhere to the D.C. Rules of Professional Conduct—specious arguments about

ultra vires regulations, the Chevron doctrine, and the newly-minted “major

question” doctrine, notwithstanding.

      3. The Only Proceeding Pending Before the Court of Appeals is a Motion
         to Enforce a Subpoena.

      This proceeding did not originate before the Court of Appeals, and the merits

of Respondent’s conduct are not under consideration by the Court.             When

Respondent refused to comply with a subpoena for documents during the

investigation of this matter, Disciplinary Counsel moved to enforce the subpoena

before the Court pursuant to Rule XI, § 18(d). Then Respondent sought to have the

subpoena quashed by the Board, to which Disciplinary Counsel pointed out that the

matter—meaning only the issue of the enforcement of the subpoena because that

was the only matter pending—was before the Court. The primary issue before the

Court is whether the Fifth Amendment right against self-incrimination permits

Respondent to refuse to comply with a subpoena that sought any evidence he had to

support the claims made in the “Proof of Concept” letter that there was sufficient

evidence of fraud in Georgia to affect the outcome of the 2020 election.

      While the motion was under advisement, Disciplinary Counsel continued to

investigate and concluded there was sufficient evidence to charge Respondent

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without a response to its subpoena. These charges were brought approximately six

months after the motion to enforce the investigative subpoena was filed with the

Court. That does not mean that the subpoenaed evidence is not relevant, just not

essential. (One might think that evidence supporting the claims Respondent sought

to put forward in the “Proof of Concept” letter would be exculpatory and therefore

something that Respondent would want made part of the record.) Respondent,

however, wants to treat this ancillary evidentiary matter as though the entire case

were under consideration by the Court. His only hook for doing so is that, as a make-

weight argument to his extensive discussion of the Fifth Amendment issues, he

threw into his brief arguments about lack of jurisdiction over Department of Justice

employees. But even he admits that the law in the District of Columbia does not

require one tribunal to defer to another if efficiency is not served—if resolution in

one tribunal will not resolve the issues in another. And of course, here we do not

have separate tribunals—the Board and its hearing committees are agencies of the

Court of Appeals. In any case, Respondent admits, in his discussion of the D.C. case

law, that the “divestiture-of jurisdiction rule” is not really a jurisdictional

prohibition. So it is not true, despite the heading to his argument, that “The Board

Lacks Jurisdiction.” Motion to Dismiss at 9.

*     *      *     *      *     *      *       *    *     *      *     *      *




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      There is one genuine pre-litigation motion pending before the Hearing

Committee — its recommendation on Respondent’s request to defer these

proceedings. That issue is briefed. If the decision is not to defer, the Hearing

Committee should promptly schedule a status conference to establish a hearing date.

Respondent’s counsel requested and received access to Disciplinary Counsel’s file

last Fall. There may be some additional documents acquired since then, but there

will not be many, if any. The exhibits will be sparse, and Disciplinary Counsel

estimates that it would call three witnesses. There is no reason this case cannot be

heard in the second half of October 2022.

                                     Respectfully submitted,

                                     Hamilton P. Fox, III
                                     ______________________________
                                     Hamilton P. Fox, III
                                     Disciplinary Counsel


                                     /s/ Jason R. Horrell
                                     Jason R. Horrell
                                     Assistant Disciplinary Counsel

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of September 2022, I caused a copy of the

foregoing Disciplinary Counsel’s Omnibus Response to Respondent’s September 1,

2022 Pleadings to be served on the Board of Professional Responsibility c/o Case

Managers to casemanagers@dcbpr.org and to Respondent’s counsels via email to

Harry W. MacDougald, Esquire, to hmacdougald@CCEDlaw.com, to Charles

Burnham, Esquire, to charles@burnhamgorokhov.com, and Robert A. Destro,

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                                              Hamilton P. Fox, III
                                              ______________________________
                                              Hamilton P. Fox, III




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